






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-12-00017-CV






In re Glenn Ray Macks






ORIGINAL PROCEEDING FROM TRAVIS COUNTY





M E M O R A N D U M   O P I N I O N


		Relator, Glenn Ray Macks, an inmate in the Texas Department of Criminal Justice,
filed a pro se petition for writ of mandamus in this Court.  See Tex. Gov't Code Ann. § 22.221 (West
Supp. 2010); see also Tex. R. App. P. 52.1.  In his petition, Macks asks us to issue a writ of
mandamus directed to the Texas Board of Pardons and Paroles.

		This Court does not have mandamus jurisdiction over the Texas Board of Pardons
and Paroles.  By statute, this Court has the authority to issue a writ of mandamus against "a judge
of a district or county court in the court of appeals district" and other writs as necessary to enforce
our appellate jurisdiction.  See Tex. Gov't Code Ann. § 22.221 (West Supp. 2010).  The parole board
is not a party against whom we may issue a writ of mandamus.  Nor has Macks demonstrated that
the exercise of our writ power is necessary to enforce our jurisdiction.  We have no jurisdiction to
grant Macks any relief.

		Accordingly, the petition is dismissed for want of jurisdiction.


						__________________________________________

						Melissa Goodwin, Justice

Before Justices Puryear, Henson and Goodwin

Filed:   January 27, 2012


